       Case 1:04-cr-00376-RDB          Document 44        Filed 02/27/09     Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF MARYLAND

TRAQUAN DAION JOHNSON                           :

       Petitioner                               :

           v.                                   :           Civil Action No. WDQ-08-3329
                                                            Rel. Crim Action No. WDQ-04-376
UNITED STATES OF AMERICA                        :

       Respondent
                                           o0o
                                       MEMORANDUM

       Before the court is a petition for writ of error coram nobis filed pro se by Traquan Daion

Johnson,1 an inmate incarcerated at the Federal Correctional Institution in Jesup, Georgia,

seeking to vacate his 2005 judgment and secure his immediate release. The Court will dismiss

the petition without prejudice.

                                       BACKGROUND

       On March 4, 2005, after Johnson entered a guilty plea to bank robbery and use of a

firearm, the Court sentenced him to a total term of 125 months incarceration and five years

supervised release. See United States v. Johnson, criminal action WDQ-04-376(D. Md). Johnson

filed a Motion to Vacate, Set Aside or Correct Sentence pursuant to 28 U.S.C. § 2255, which

was denied on July 7, 2006.

                                           ANALYSIS

       Coram nobis is an “extraordinary remedy” used “only under circumstances compelling

such action to achieve justice.” United States v. Mandel, 862 F.2d 1067, 1075 (4th Cir.1988). A



       1
          Johnson’s name on Court and Bureau of Prisons records is shown as Traquan Daion
Johnson, although he identifies himself as Daion Traquan Johnson on his petition for coram
nobis relief.
        Case 1:04-cr-00376-RDB           Document 44        Filed 02/27/09      Page 2 of 2



writ of error coram nobis is available to vacate a federal conviction after a sentence has been

served and defendant is no longer in custody. See United States v. Morgan, 346 U.S. 502

(1954). Where, as here, a petitioner remains in federal custody, coram nobis is unavailable and

relief must be sought by way of a 28 U.S.C. § 2255 Motion to Vacate, Set aside or Correct

Sentence.

         The instant petition, construed under §2255, represents Johnson’s second § 2255

motion and may be considered by the district court only if it is first certified by the court of

appeals. See 28 U.S.C. §§2244(b)(3)(A)& 2255. Where a petitioner has failed to comply with

the procedural requirements for a second or successive petition, the petition must be dismissed

for lack of jurisdiction. See Evans v. Smith, 220 F.3d 306, 325 (4th Cir. 2000).

                                       CONCLUSION

       The Court deems the petition properly construed pursuant to 28 U.S.C. § 2255. The

court shall dismiss the petition without prejudice for lack of jurisdiction by separate order.


February 27, 2009                                      /s/
Date                                           William D. Quarles, Jr.
                                               United States District Judge




                                                  2
